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7

8
                             IN THE UNITED STATES DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )                  2:11-CR-00296 WBS
                                         )
13
                             Plaintiff,  )                  STIPULATION AND [PROPOSED]
14                                       )                  ORDER TO ALLOW DEFENDANT
     v.                                  )                  TO TRAVEL TO MEXICO
15                                       )
                                         )
16
     SANDRA HERMOSILLO,                  )
17                                       )
                             Defendant.  )
18   ___________________________________ )
19

20                                             STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Brian Fogerty, and Defendant, Sandra Hermosillo, by and through her counsel, Erin J.
23
     Radekin, hereby stipulate that Ms. Hermosillo may, with the permission of her pretrial services
24

25   officer, and pursuant to such conditions as required by her pre-trial services officer, travel to

26   Mexicali, Mexico at any time between May 25, 2017 and May 31, 2017 to attend her father’s
27
     funeral. Her father recently died and the funeral is scheduled for May 26, 2017. Ms. Hermosillo
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                                               Stipulation and Order - 1
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1    has traveled to Mexico to visit family on eight prior occasions while on pretrial release in this
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     case, and there have been no reported violations of the court-imposed travel conditions.
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            It is further stipulated that pretrial services shall return Ms. Hermosillo’s passport to her
4

5
     on the date of the filing of the proposed order to permit Ms. Hermosillo to travel to Mexico on or

6    after May 25, 2017. Ms. Hermosillo must return to the United States no later than May 31, 2017
7    and must check in with and surrender her passport to her pretrial services officer within 24 hours
8
     of returning to the United States, but in no event later than June 1, 2017.
9
            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
10

11   IT IS SO STIPULATED.

12   Dated: May 23, 2017                           PHILLIP A. TALBERT
                                                   United States Attorney
13

14                                         By:     /s/ Brian Fogerty
                                                   BRIAN FOGERTY
15                                                 Assistant United States Attorney
16

17
     Dated: May 23, 2017                           /s/ Erin J. Radekin
18                                                 ERIN J. RADEKIN
19
                                                   Attorney for Defendant
                                                   SANDRA HERMOSILLO
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22   IT IS SO ORDERED.

23   Dated: May 23, 2017.
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                                              Stipulation and Order - 2
